Valiadd artbervisePgyAHEH Document 1-11 Filed 01/05/23 Page 1 of 11 PagelD# 63
March 17 at 8:36 AM: @

THE THING ABOUT PAM...

If y'all haven't seen this fascinating new series about a CRAZY Pam,
it is riveting. Pam appears to be a pillar of the community, but
underneath it she is a lying sociopath who ingratiates herself and
tries to make herself part of the victim's family. The similarities
between the real-life Pam H and our own local crackpot Pam H are
eerily uncanny. Motivated by greed and a desire for control over
others, both seek to constantly undermine people by lying and
seeking to cast blame on innocent victims after perpetrating
unthinkable crimes against them. They give Pams a bad name!!!
You will definitely get a blast out of this excellent drama based on
real life...

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Barb Rudolph
Fascinating! Os:

Like Reply 2w

a Andrea L. Huntjens
We could write a sequel......winkwink

Like Reply 2w Oz

Billy Germelman

« So, this is an accurate portrayal of "that" Pam ??? Lol

4

Like Reply 2w

Van Hardenbergh

Billy Germelman | couldn't say how accurate it is.
Some folks who lived in the location where Pam
Hupp committed her crimes have commented in
an online fan forum that the characters are
EXACTLY like their real-life counterparts. | can
say that the similarities between this disturbed
bird and our real-life Pam H here in Petersburg
are numerous. Both are accomplished liars who
are completely self-centered, manipulative, and
dangerous parasites. More to come...

Like Reply 2w Od 2

(ge Billy Germelman
Van Hardenbergh stay safe my friend and stay

out in front of any bullshit!
Like Reply ?2w O 2

€ Pam Naulty
Scared me to death when | first started to read, ~
Like Reply 2w
Swart Mardenbergh Sen Endia Gendvearinehiey And Page!D# ©
16 others at Charles V. Hardenbergh, PC.
March 19 at 7:25 PM - Petersburg -@

We never regret being kind to the wrong people because the wrong
people are often the victims of liars. But our specialty is uncovering
the truth. So if you've been the victim of a con artist, call us at 1-
866-Van-Wins and we will fight for you! #TheThingAboutPam

OO 146 17 Comments 3 Shares

a) Like fo Share
Case 3:23-cv-00017-HEH Document 1-11 Filed 01/05/23 Page 4 of 11 PagelD# 66
Van Hardenbergh

March 19 at 7:33 PM -@

Am | not the most fortunate man on Earth???

Mari Hardenbergh ts with Endia Geneva Hinchey and 16 others
at Charles V. Hardenbergh, PC.
March 19 at 7:25 PM - Petersburg -@

We never regret being kind to the wrong people because the
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#ThelhingAboutPam

oOo 66 & Comments

rf pe rt +e hk ow.
Vareffardenbe gn cee Document 1-11 Filed 01/05/23 Page 5 of 11 PagelD# 67
March 29 at 7:37 PM- @

What's Pam's Problem???

It's Pam Day!!! That's the day the latest episode of The Thing
About Pam is released. Before we try to figure out what makes
Pam so crazy, let's look at the Top Ten Things Pam Hupp has in
common with Petersburg's own notorious Pam @ yy, another
known con artist with sociopathic tendencies, primarily lying -
first and foremost she is a shameless liar who is fundamentally
dishonest and treacherous...

1. Greed - Both had the same motivation for their crimes — to get
money.

2. Strict Catholic Upbringing - They were raised in the church
and act pious.

3. Violence — Both commit violent crimes, claiming their victims
are to blame.

4. False Witness Against Thy Neighbor - Knowingly blaming
innocent people.

5. Fired for Dishonesty — One for forging signatures, the other
for embezzling.

6. Constantly Ingratiating Themselves — Wanting to be part of
victims’ family.

7. Relationship Status: Fail —- One is twice divorced, one never
got a proposal.

8. Next to the youngest — Both were born next to last in large
families (4 & 7).

9. Inheritance - Greed strong enough to exclude siblings from a
parent's estate.

10. Imposters — Both claimed in communications to be someone
else. They lied.
Q RiarrAatdnbergppcunent 1-11 Filed 01/05/23 Page 6 of 11 PagelD# 68

March 29 at 10:20 PM: @

Pam @ & is a shameless liar who is fundamentally dishonest and
treacherous...

Van Hardenbergh
March 29 at 7:37 PM-@

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Case 3:23-cv-00017-HEH Document 1-11 Filed 01/05/23 Page 7 of 11 PagelD# 69
Mari Hardenbergh ue
April 2. at 10:56 PM-@
It's the City's fourth homicide this year and we have LIARS in the

world like Pam @ o wasting law enforcement's time and resources.
#pathnetic

PROGRESS-INDEX.COM

Man found shot to death at Petersburg apartment
complex Saturday night: Police

* a

a) Like & Share
Case 3:23-cv-00017-HEH Document 1-11 Filed 01/05/23 Page 8 of 11 PagelD# 70

Van Hardenbergh 4%
20m -@

ANOTHER DAY, ANOTHER DEATH. WHY?

Good morning my friends. Sadly, this day is one that will never be
the same for some of our neighbors here in Petersburg. More
killings, more funerals, more grieving.

Nobody can stop it, and the police are overwhelmed. That's one
reason for the ongoing carnage - not enough officers on the force,
too many crimes to solve, AND... wait for it...

Too many BS crimes that waste their time, a prime example being
Petersburg's notorious Pam @ , who fabricated fantastic claims
against Mrs Fabulous and Yours Truly, charging us with
preposterous counts of abduction, breaking and entering, assault,
etc. Even after the charges were dismissed 3 times by 3 different
judges, this woman STILL tried to get the Magistrate to let her
swear out the charges again. When they refused, she slithered
right over to the Police Department to see if perhaps they might
receive her entreaties a bit more warmly.

No dice. The by now long worn-out victim act was of no further
use. But y'all Know that a leopard doesn't change it’s spots, right?
Not to worry my friends, the story isn't over yet. In fact, it's only
just beginning!!!

Although | would LOVE to disclose ALL of the JUICY DETAILS and
SALACIOUS GOSSIP that people have shared with us, the time has
not quite yet come for the big reveal(s). But what | can tell you is
this: witnesses have stated that Pam has a lifelong pattern of
trying to break up couples. She ingratiates herself and seems like
a bosom buday at first, but it's a long con that unfolds
treacherously over time. More details on her MO and past victims
to come.

For now, alll can confirm is that PART of the problem here in
Petersburg is created by false claims that are composed of
nothing but lies. The liars who perpetrate these frauds are just
like Pam Hupp and Pam @., sociopaths who love to scheme and
scam, wasting the time of police officers and attempting to frame
completely innocent people as part of a greedy grifter's game of
larcenous betrayal. Stay tuned y'all...

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scam, _ wasging, the dimaneb prlige offigersandiattenmatia Bi@sH4N age 9 of 11 PagelD# 71
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Police investigating fatal triple shooting in Petersburg
Police aré on scene in Petersburg, where a fatal triple shooting.

mf) Like (J) Comment ce Share

a: Write a comment.. (=) (a) be ke
Case 3:23-cv-00017-HEH Document 1-11 Filed 01/05/23 Page 10 of 11 PagelD# 72

Mari Hardenbergh os
2h. @

What a waste...

Van Hardenbergh
4h-@

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WRIC.COM
Police investigating fatal triple shooting in Petersburg

Police are on scene in Petersburg, where a fatal triple shooting ...
